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                        IN THE UNITED STATES DISTMCT COURT
                            FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMEMCA                                    CaseNo:l:22-cr-31-FYP


                                                            18 U.S.C. § 1752(a)(l)



        V.




 BILLY KNUTSON,

         Defendant.




                                 STATEMENT OF OFFENSE

       Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and

through its attorney, the United States Attorney for the District of Columbia, and the defendant,

Billy KNUTSON, with the concurrence of his attorney, agree and stipulate to the below factual

basis for the defendant's guilty plea—that is, if this case were to proceed to trial, the parties

stipulate that the United States could prove the below facts beyond a reasonable doubt:

                        The Attack at the U.S. Capitol on January 6, 2021

        1. The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include

permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

        2. On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public.




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        3. On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count

of the Electoral College of the 2020 Presidential Election, which had taken place on November


3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by

approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a

particular objection. Vice President Mike Pence was present and presiding, first in the joint

session, and then in the Senate chamber.


        4. As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.

Capitol. As noted above, temporary and permanent barricades were in place around the exterior

of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the

crowd away from the Capitol building and the proceedings underway inside.

        5. At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd

advanced to the exterior fa9ade of the building. The crowd was not lawfully authorized to enter

or remain in the building and, prior to entering the building, no members of the crowd submitted

to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized

security officials.

        6. At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.


Capitol Police attempted to maintain order and keep the crowd from entering the Capitol;




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however, shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,

including by breaking windows and by assaulting members of law enforcement, as others in the

crowd encouraged and assisted those acts. The riot resulted in substantial damage to the U.S.

Capitol, requiring the expenditure of more than $1.4 million dollars for repairs.

       7. Shortly thereafter, at approximately 2:20 p.m., members of the United States

House of Representatives and United States Senate, including the President of the Senate, Vice

President Pence, were instructed to—and did—evacuate the chambers. Accordingly, all


proceedings of the United States Congress, including the joint session, were effectively

suspended until shortly after 8:00 p.m. the same day. In light of the dangerous circumstances

caused by the unlawful entry to the U.S. Capitol, including the danger posed by individuals who

had entered the U.S. Capitol without any security screening or weapons check. Congressional

proceedings could not resume until after every unauthorized occupant had left the U.S. Capitol,

and the building had been confirmed secured. The proceedings resumed at approximately 8:00

p.m. after the building had been secured. Vice President Pence remained in the United States

Capitol from the time he was evacuated from the Senate Chamber until the session resumed.



                KNUTSON's Participation in the January 6, 2021, Capitol Riot

       8. On January 6, 2021, the defendant climbed through a broken window next to the

Capitol's Senate Wing Doors around 3:32 p.m. Closed-circuit video footage shows him

spending several minutes inside the Capitol building interacting with police officers and other

people. At times, he used a mobile phone apparently to record and/or livestream video, and/or to

take photographs inside the Capitol. He then exited the Capitol through the Senate Wing Doors.

       9. The defendant published a rap video in April 2021 in which he makes several

comments about the events of January 6, 2021 at the Capitol, including the following:



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               • "The media's been trying to demonize us about the events of January 6th,

                   spreading fake news and propaganda as they always have."

               • "We never gon' surrender; these patriots on a mission."


               • "We don't wanna go to war but we gotta stand strong; we ain't never backin'


                   down." (This refrain is repeated many times.)


               • "Fuck 'em all, fuck 'em all; it's a lost cause now. Line 'em up like dominos


                   and watch 'em all fall down." (This refrain is repeated several times.)


               • "If you're not gonna fight for us then we have no choice but to band together

                   and fight for ourselves." [This was followed immediately by footage ofrioters

                   throwing objects (including a metal folding chair) at a police line at the

                   Capitol on January 6, 2021.]


               • "We may have lost the battle but this fight is far from over. Give me freedom

                   or give me death." [He makes throat-slitting motion as he says the second

                   sentence.]


               • "Said I'm ready for a war and what I said I really meant it."


               • "If the price of freedom's blood then I'm down to pay the fee."


               • "You try to take away our rights we gonna greet you with guns." [As

                   animated bullets rain down on the screen.]

        10. In another rap video, published in December 2020, the defendant states, "I'm

locked and loaded ready for a civil war .... We Proud Boys ready for a civil war; 70 million

armed civilians y'all don't really wanna brawl."


        11. In another rap video, published in May 2021, the defendant says, "Had to storm

the Capitol; Nancy don't like us in her office."



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       12. The defendant knew at the time he entered the U.S. Capitol Building and Grounds

that he did not have permission to do so, and he knowingly entered and remained in the Capitol

Building and Grounds without lawful authority.


                                                    Respectfully submitted,

                                                    MATTHEW M. GRAVES
                                                    UNITED STATES ATTORNEY
                                                    D.C.BarNo.481052




                                                           /s/ Joseph DeGaetano
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                           DEFENDANT'S ACKNOWLEDGMENT

       I, Billy Knutson, have read this Statement of the Offense and have discussed it with my
attorney. I fully understand this Statement of the Offense. I agree and acknowledge by my
signature that this Statement of the Offense is true and accurate. I do this voluntarily and of my
own free will. No threats have been made to me nor am I under the influence of anything that
could impede my ability to understand this Statement of the Offense fully.



Date: ^(- 7"^
                                     Billy Knuts<5n
                                     Defendant



                            ATTORNEY'S ACKNOWLEDGMENT

        I have read this Statement of the Offense and have reviewed it with my client fully. I
concur in my client's desire to adopt this Statement of the Offense as true and accurate.




Date: ^.- I- ^^~ /?L^t^U^ Tl^-CJ,
                                     Matthew M. Powers
                                     Attorney for Defendant




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